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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



FREDDIE ERVIN, JR.,                    CASE NO. 4:17-cv-14171-LVP-APP
    Plaintiff,

      vs.                              Judge Linda V. Parker
                                       Magistrate Judge Anthony P. Patti

EXPERIAN INFORMATION
SOLUTIONS, INC., et al
     Defendants.
__________________________________________________________________

              NOTICE OF SETTLEMENT WITH DEFENDANT
              EXPERIAN INFORMATION SOLUTIONS, INC.

      Plaintiff and Defendant, Experian Information Solutions, Inc., have reached

a settlement. The Parties intend to file a Stipulation of Dismissal with Prejudice no

later than November 9, 2018.



Dated: September 13, 2018                    Respectfully Submitted,

                                             /s/ Gary D. Nitzkin___________
                                             GARY D. NITZKIN (P41155)
                                             Credit Repair Lawyers of America
                                             22142 W. Nine Mile Road
                                             Southfield, MI 48033
                                             Tel: (248) 353-2882
                                             Fax: (248) 353-4840
                                             gary@crlam.com
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                             PROOF OF SERVICE

       I, Erica L. Forbes, hereby state that on September 13, 2018, I served a copy
of the within pleading upon all counsel of record via the ECF System.

                                /s/ Erica L. Forbes_
